                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )   No. 3:13-00041
v.                                             )   Judge Sharp
                                               )
NESSUN ADOUNDETH                               )
                                               )




                                          ORDER

        Pending before the Court is Defendant’s Motion to Set a Change of Plea Hearing (Docket

No.54).

        The motion is GRANTED and a hearing on a change of plea hearing in this matter is hereby

scheduled for Tuesday, November 19, 2013, at 3:00 p.m.

        IT IS SO ORDERED.



                                                   ________________________________
                                                   KEVIN H. SHARP
                                                   UNITED STATES DISTRICT JUDGE




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